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Exhibit B
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Richmond, Virginia 23219
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January 23, 2017

VIA ELECTRONIC MAIL AND FEDEX

Yongmoon Kim

KIM LAW FIRM LLC

411 Hackensack Ave, 2"! Floor
Hackensack, New Jersey 07601
ykim@kimlf.com

Re: Deborah Migdal y. Portfolio Recovery Associates, LLC, case no. 2:16-cv-4750:
Notice of Arbitration

Dear Yongmoon,

In preparation of this week’s Initial/Status Conference in this matter, Portfolio Recovery
Associates, LLC (“PRA”), by and through counsel, have received and reviewed the relevant
Retail Installment Credit Agreement (“Agreement”) at issue in this case. Pursuant to Paragraph
17, as an assignee of Synchrony Bank, PRA now provides notice of its intent to arbitrate Plaintiff
Deborah Migdal’s (“Plaintiff”) claims. The Agreement is attached for your review.

Pursuant to the terms of the Agreement, Plaintiff has twenty (20) days to select either the
American Arbitration Association, (“AAA”) or JAMS (“JAMS”) to administer this arbitration.
If you fail to select an administrator within this period, PRA will select one for you.

Furthermore, PRA will arbitrate Plaintiff's claims individually as Plaintiff waived “the
right to participate as a representative or member of any class of claimants pertaining to any
claim subject to arbitration.” Specifically, the Agreement defines “claim” as:

[A]ny claim, dispute or controversy between you and us arising from or relating
to... the [Agreement], any prior cardholder agreement that you may have had
with us or the relationships resulting from the Agreement or any prior cardholder
agreement, including the validity, enforceability or scope of this Arbitration
Provision, the Agreement or any prior agreement. ... [Including] claims of every
kind and nature, between you and us, including but not limited to initial claims,
counterclaims, cross-claims and third-party claims and claims based upon

ATLANTA BEIJING CHARLOTTE CHICAGO HONG KONG NEW YORK ORANGE COUNTY PORTLAND RALEIGH
RICHMOND SAN DIEGO SAN FRANCISCO SHANGHAI TYSONS CORNER VIRGINIA BEACH WASHINGTON, DC
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Yongmoon Kim
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contract, tort, fraud and other intentional torts, constitutions, statute, regulation,
common law and equity (including any claim for injunctive or declaratory relief).
‘The term “Claim” or “Claims” is to be given the broadest possible meaning and
includes, by way of example and without limitation, any claim, dispute or
controversy between you and us that arises from or relates to (a) the credit card
account (“Account”) created by the Agreement or any prior agreement, or any
balances on the Account, (b) liability under the Agreement for the goods or
services (including insurance or extended service contracts, if any) charged to the
Account, (c) advertisements, promotions or oral or written statements related to
the Account or the terms of financing, (d) liability under the Agreement for goods
or services financed under the Account, (e) your application for the Account and
(f) the origination or servicing of the Account or any prior agreement and the
collection of amounts owed by you to us.

Given that Ms. Migdal’s claims are obviously covered by the Agreement, we believe that
arbitrating this matter will prove to be uncontroversial. Rather than set a scheduling order that
includes this matter at the upcoming Status Conference, we intend to inform Judge Dickson of
the pending arbitration and ask that you agree.

Please let us know which organization you prefer administer this arbitration. As Ms.
Genovese continues to represent PRA in the Federal lawsuit, I ask that you continue to include
her on any communications.

Jonathan P. Floyd
Enclosure
ce: Amanda Genovese

Andy Thomasson (via Email)
Philip Stern (via Email)

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